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                                                                                                                                             IN THE UNITED STATES DISTRICT COURT
                                                                                                                                             FOR THE MIDDLE DISTRICT OF FLORIDA
                                                                                                                                                     FORT MYERS DIVISION

                                                                                                                                                    CASE NO.: 21-CV-00283-SPC-MRM

                                                                                                          DAVID SCHWARTZ,

                                                                                                                                Plaintiff,
                                                                                                                     v.

                                                                                                          ADP, INC. and
                                                                                                          AUTOMATIC DATA PROCESSING, INC.,

                                                                                                                     Defendants.
                                                                                                          _________________________________/

                                                                                                            DEFENDANT ADP, INC.’S UPDATED ANSWERS AND OBJECTIONS TO
                                                                                                               PLAINTIFF DAVID SCHWARTZ’S FIRST INTERROGATORIES

                                                                                                                     Defendant, ADP, INC. (“ADP”), by and through undersigned counsel and

                                                                                                          pursuant to Rule 33 of the Federal Rules of Civil Procedure, hereby voluntarily serves

                                                                                                          its updated answers and objections to Plaintiff DAVID SCHWARTZ’s (“Schwartz”)

                                                                                                          First Set of Interrogatories dated August 2, 2021 as follows:
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                                                                                                                                                           General Objections

                                                                                                                     1.         Schwartz’s definition in item “I” provides: “As used herein, the terms

                                                                                                          “you,”          “your,”           “Plaintiff”,   “Counter-Defendant”    or       “ADP”       shall    mean

                                                                                                          Plaintiff/Counter-Defendant, ADP LLC, to include any and all relevant related

                                                                                                          companies” but does not specify the name(s) of the related company(ies). Also, ADP

                                                                                                          is neither the plaintiff or counter-defendant in this action.

                                                                                                                     2.         Schwartz’s definition in item “O” provides: ““ADP" refers to ADP, LLC,

                                                                                                          individually, its predecessors, parents, affiliates, including ADP Broker Dealer
                                                                                                          {10514993: }                                             1


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                                                                                                          subsidiaries, directors, officers, members, employees, attorneys, partners, accountants,

                                                                                                          investigators, agents, representatives, and all other persons acting or purporting to act

                                                                                                          on behalf of ADP.” This definition is overly broad, vague, and ambiguous; moreover,

                                                                                                          no such entities are mentioned in the operative complaint nor do they appear relevant

                                                                                                          to the claims and defenses in this case.

                                                                                                                     3.         ADP objects to Schwartz’s customized “Instructions and Definitions” which

                                                                                                          provide customized definitions for common words or words which are defined by the Federal

                                                                                                          Rules of Civil Procedure or the Middle District Local Rules. Either way, “burdensome

                                                                                                          ‘boilerplate’ definitions or instruction [should not] be used in formulating a document

                                                                                                          request…” Middle District Discovery (2021) at Section III(A)(2). In their Responses below,

                                                                                                          Defendants will not follow Plaintiff’s “Instructions and Definitions” because “[w]ords used

                                                                                                          in discovery normally carry their plain and ordinary meaning” unless the Federal or Local

                                                                                                          Rules provide definitions. Id. There are no words used herein which “requires a special or

                                                                                                          technical definition.” Id. For example, Defendants will interpret and use the term
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                                                                                                          “document” (singular and plural) as it is described in Federal Rule of Civil Procedure 34.

                                                                                                                                                      Interrogatories

                                                                                                                     1.         Provide the Mobile Equipment Identifier (“MEID”), International Mobile

                                                                                                          Equipment Identity (“IMEI”), and serial number of the iPad Schwartz allegedly stole

                                                                                                          from ADP.

                                                                                                                     RESPONSE: Objection, Schwartz appears to be needlessly requesting
                                                                                                                     information which he already knows. In Schwartz’s Third Request to Produce
                                                                                                                     in Case No. 18-CA-005454, Schwartz asks for information related to an iPad
                                                                                                                     with serial number DMPS904GG5YL. That can only be determined by
                                                                                                                     accessing the subject iPad and scrolling down to the same area which also
                                                                                                          {10514993: }                                       2


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                                                                                                                     reveals the IMEI/MEID. See https://support.apple.com/en-us/HT204073
                                                                                                                     Stated differently, if Schwartz had access to the serial number of the iPad
                                                                                                                     (which he unlawfully retained until September 2021), then he had access to the
                                                                                                                     IMEI number.

                                                                                                                     At the time this Interrogatory was served in August 2021, ADP did not have
                                                                                                                     possession, custody, or control of the iPad issued to Schwartz to verify these
                                                                                                                     numbers. Schwartz wrongfully retained (stole) the iPad beginning in July
                                                                                                                     2018 when he was terminated and was under state court orders beginning in
                                                                                                                     April 2021 to return the iPad to ADP. Schwartz resisted and refused until the
                                                                                                                     state court issued an order that he would be arrested if he did not comply. In
                                                                                                                     September 2021, Schwartz finally returned the iPad (more than three years
                                                                                                                     after he wrongfully retained it and months after he initiated this action).
                                                                                                                     Unfortunately, Schwartz returned the iPad in a factory-reset (“wiped”)
                                                                                                                     condition and without the SIM card, which is used to store networking and
                                                                                                                     communication data. The delays and spoliation caused by Schwartz’s unlawful
                                                                                                                     actions have prevented Defendants, to date, from obtaining such discovery or
                                                                                                                     evidence.

                                                                                                                     It is believed, but has not been verified, that the IMEI of the iPad is
                                                                                                                     352068074305807. According to Apple, the IMEI and MEID for an iPad are
                                                                                                                     the same number. Id. In order to access the IMEI number, ADP would have
                                                                                                                     to set up a new account on the subject iPad which would alter its current state;
                                                                                                                     until this Court (and the state courts) hear and consider spoliation-related
                                                                                                                     motions directed at Schwartz’s factory-resetting of the iPad (and removal of
                                                                                                                     the SIM card), ADP declines to alter the current state of the iPad.
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                                                                                                                     2.         Please provide the names, contact information and job duties for all

                                                                                                          persons, 3rd party vendors and contractors tasked by ADP with, or responsible for

                                                                                                          monitoring Schwartz’s electronic devices, Apple accounts, Apple IDs, Apple iCloud,

                                                                                                          Apple device applications, Apple devices, communications, and/or online activity

                                                                                                          between May 1, 2015 to the present date.

                                                                                                                     RESPONSE: ADP raises several objections.

                                                                                                                     First, this Interrogatory is overly broad. ADP’s rights over its employees and
                                                                                                                     ADP’s own devices loaned to Schwartz during his employment is completely
                                                                                                                     different than any rights or obligations after Mr. Schwartz was terminated in
                                                                                                                     July 2018.

                                                                                                                     Second, ADP objects to the disproportionate scope and date range of this
                                                                                                                     Interrogatory. Plaintiff was an employee of ADP during this May 2015 - July
                                                                                                                     18, 2018 time period. In the TAC, however, Plaintiff claims he was “hacked”
                                                                                                                     after he was terminated on July 18, 2018. See TAC, paragraphs 39 and 81. As
                                                                                                                     such, the date range is overbroad and not reasonably related to the claims and
                                                                                                                     defenses in this case.

                                                                                                                     Third, ADP objects to this request on the grounds that it seeks production of
                                                                                                                     proprietary and trade secret information regarding employee and device
                                                                                                                     policies for that time period when Mr. Schwartz was employed.
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                                                                                                                     Fourth, ADP objects to the word, “monitored,” as vague and ambiguous
                                                                                                                     (see a discussion of how ADP uses this word in Response to Third Request
                                                                                                                     for Production #1). For example, ADP has viewed Mr. Schwartz’s public
                                                                                                                     blog and public social media postings. There is no law against reading (or
                                                                                                                     “monitoring”) a person’s public social media posts or other public internet
                                                                                                                     activity and, as such, the same would not be a violation of the statutes at issue
                                                                                                                     in this case. Finally, Defendants also object because this Request is not limited
                                                                                                                     to “unlawful” monitoring.

                                                                                                                     ADP does not object to this Interrogatory to the extent it is asking if ADP
                                                                                                                     unlawfully monitored Mr. Schwartz’s private devices, communications,
                                                                                                                     applications, devices, or online activity after he was terminated in July 2018.
                                                                                                                     Upon conferring with the relevant departments, the answer is no.

                                                                                                          {10514993: }                                     4


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                                                                                                                     3.         List the title and version number of any and all monitoring, tracking,

                                                                                                          management software and/or management profiles installed or executed by ADP on

                                                                                                          any electronic device, computer system, or account used or owned by Schwartz for the

                                                                                                          period May 2015 to the present date.

                                                                                                                     RESPONSE: See the objections raised in Answer #2 which are adopted
                                                                                                                     herein.

                                                                                                                     To the extent that this Interrogatory seeks the title and version number of any
                                                                                                                     monitoring, tracking, or device management software or profiles installed on
                                                                                                                     Schwartz’s devices, upon information and belief, Schwartz installed
                                                                                                                     AirWatch on at least one personal iPhone (see Response to Third Request for
                                                                                                                     Production #2).

                                                                                                                     Upon further information and belief, either AirWatch or InTune was installed
                                                                                                                     on the iPad which was issued to Schwartz, however ADP cannot verify the
                                                                                                                     same because Schwartz retained the device for three years and then returned
                                                                                                                     the iPad to ADP in a factory-reset (wiped) condition and without the SIM
                                                                                                                     card. ADP is not entirely clear what Schwartz means by “computer system”
                                                                                                                     or “account” but, using ordinary definitions of those words, and after
                                                                                                                     conferring with the relevant departments, ADP has not unlawfully monitored
                                                                                                                     any computer system or account owned or used by Schwartz since he was
                                                                                                                     terminated in July 2018.
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                                                                                                                     4.         Identify each computer system or program that is or has been used by any

                                                                                                          person employed by, contracted with, and/or under the direction or control of ADP to

                                                                                                          track, monitor, view, access, or store information relating to Schwartz, including, but

                                                                                                          limited to, any lawsuit between Schwartz and Defendant, including, but not limited to,

                                                                                                          desktop computers, servers, personal digital assistants (PDAs), portable computers,

                                                                                                          laptop computers, mobile phones and/or any and all other electronic devices. Include

                                                                                                          descriptions of equipment and any peripheral technology attached to such computer

                                                                                                          system or program during the period May 2015 to the present date.

                                                                                                                     RESPONSE: See Objections and Answers to Interrogatories #2 and 3 which
                                                                                                                     are adopted herein. ADP does not object to this Interrogatory to the extent it
                                                                                                                     is asking if ADP unlawfully tracked, monitored, viewed, accessed, or stored
                                                                                                                     information relating to Mr. Schwartz or his devices after he was terminated
                                                                                                                     in July 2018. Upon conferring with the relevant departments, the answer is
                                                                                                                     no.

                                                                                                                     5.         Provide the name, contact information, job duties, and employer of each

                                                                                                          person that has knowledge of, and/or was notified about the connection between
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                                                                                                          (ADP’s servers and/or IP Address) and (Schwartz’s Apple accounts, Apple IDs, Apple

                                                                                                          iCloud, Apple device applications and Apple devices) for the time period May 1, 2015

                                                                                                          to the present date. In your response identify the specific type of knowledge each person

                                                                                                          has as well as when and how they obtained such knowledge.

                                                                                                                     RESPONSE: See Objections and Answers to Interrogatories #2 and 3 which
                                                                                                                     are adopted herein. The operative complaint does not even allege that there
                                                                                                                     was a “connection” dating back to May 1, 2015. ADP does not object to this
                                                                                                                     Interrogatory to the extent it is asking if ADP had knowledge or was notified


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                                                                                                                     of the alleged “connection” prior to Schwartz filing this lawsuit. Upon
                                                                                                                     conferring with the relevant departments, the answer is no.

                                                                                                                     6.         For the time frame July 19, 2018 to the present date, please explain how

                                                                                                          any connection between Schwartz’s (Apple accounts, Apple IDs, Apple iCloud, Apple

                                                                                                          device applications and Apple devices) and (ADP’s severs and/or ADP’s IP addresses)

                                                                                                          occurred/was allowed and what steps ADP has taken in attempt to remove any

                                                                                                          connection between Schwartz’s Apple accounts, Apple IDs, Apple iCloud, Apple

                                                                                                          device applications, and Apple devices and ADP’s servers and/or IP addresses.

                                                                                                                     RESPONSE: ADP has no such information. We await discovery including
                                                                                                                     subpoenaed information from Apple however this has been hampered by (a)
                                                                                                                     Schwartz’s dilatory discovery responses; (b) Schwartz’s unlawful retention of
                                                                                                                     the iPad until September 2021; (c) Schwartz’s spoliation of the iPad by factory
                                                                                                                     resetting it and removing the SIM card while it was in his possession; and (d)
                                                                                                                     Schwartz’s inability or unwillingness to produce the original .csv files which
                                                                                                                     were supposedly provided to him by Apple and which supposedly make up
                                                                                                                     Exhibit R to the operative complaint (a composite exhibit which Mr. Schwartz
                                                                                                                     made himself). Apple has indicated that it cannot respond to ADP’s subpoena
                                                                                                                     without (a) the original .csv files and (b) Schwartz’s consent allowing Apple
                                                                                                                     to respond to ADP’s subpoena. Our investigation is ongoing.
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                                                                                                                                            RULE 26 CERTIFICATION

                                                                                                                     The undersigned (Christopher B. Hopkins, Esq. of McDonald Hopkins LLC, 505

                                                                                                          South Flagler Drive, Suite 300, West Palm Beach, Florida 33401, (561) 472-2121

                                                                                                          chopkins@mcdonaldhopkins.com) certifies, to the best of his knowledge, information, and

                                                                                                          belief formed after a reasonable inquiry that these updated answers to interrogatories are

                                                                                                          complete and correct as of the time that they are made; consistent with the Federal Rules

                                                                                                          of Civil Procedure; are warranted by existing law (or are warranted by a non-frivolous

                                                                                                          argument for extending, modifying, or reversing existing law or for establishing new law);

                                                                                                          are not interposed for any improper purpose; and are neither unreasonable nor unduly

                                                                                                          burdensome or expensive, considering the needs of the case, prior discovery, amount in

                                                                                                          controversy, and the importance of the issues at stake in the action.

                                                                                                                                                           By: Christopher B. Hopkins
                                                                                                                                                           Christopher B. Hopkins, Esq.
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                                                                                                          Dated: June 30, 2022.                           Respectfully submitted,
                                                                                                                                                          MCDONALD HOPKINS, LLC
                                                                                                                                                          Attorneys for Defendants ADP, INC.

                                                                                                                                                          /s/ Christopher B. Hopkins
                                                                                                                                                          Christopher B. Hopkins, Esq.
                                                                                                                                                          Florida Bar No. 116122
                                                                                                                                                          chopkins@mcdonaldhopkins.com
                                                                                                                                                          Craig S. Distel, Esq.
                                                                                                                                                          Florida Bar No. 105098
                                                                                                                                                          cdistel@mcdonaldhopkins.com
                                                                                                                                                          Mario M. Ruiz, Esq.
                                                                                                                                                          Florida Bar No. 894590
                                                                                                                                                          mruiz@mcdonaldhopkins.com
                                                                                                                                                          505 S. Flagler Drive, Suite 300
                                                                                                                                                          West Palm Beach, FL 33401
                                                                                                                                                          Tel: (561) 472-2121
                                                                                                                                                          Fax: (561) 472-2122




                                                                                                                                            CERTIFICATE OF SERVICE

                                                                                                                     I HEREBY CERTIFY that a true and correct copy of the foregoing has been

                                                                                                          served to all attorneys of record using via electronic mail on June 30, 2022.
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                                                                                                                                                          By: Christopher B. Hopkins
                                                                                                                                                           Christopher B. Hopkins, Esq.




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                                                                                                                                                                       VERIFICATION PAGE

                                                                                                                                                                          JOAN NEVEDAL ON BEHALF OF ADP, INC.
                                                                                                                                                                          (with assistance of counsel)

                                                                                                                                                                                                                                                       C04D0ECFFF74


                                                                                                                                                                                                    Joan Nevedal
                                                                                                                                                                                                         Signed on 2022/06/30 10:28:28 -8:00



                                                                                                                                                                                           By:_________________________________
                                                                                                                                                                                            Joan Nevedal, Sr. Cyber Forensics Agent

                                                                                                          STATE OF FLORIDA                                         )                                                             06/30/2022
                                                                                                                                                                   )
                                                                                                          COUNTY OF PALM BEACH                                     )

                                                                                                                     #$%'($ &$" :0- ;5,-891/5-, );:0681:=" > 7-8965)33= )77-)8-, " appeared via online

                                                                                                          notarization, Joan Nevedal as Sr. Cyber Forensics Agent of ADP, Inc., a Delaware corporation,

                                                                                                          65 *-0)3. 6. :0- +68768):165" > <06 19 7-8965)33= 256<5 :6 4- 68 " who produced driver license as

                                                                                                          identification, after being first by me duly sworn, deposes and state that he/she is the person described

                                                                                                          in and who executed the attached or foregoing Updated Answers and Objections to Plaintiff David

                                                                                                          Schwartz’s First Interrogatories, she acknowledged before me that the facts contained therein are

                                                                                                          true and correct.

                                                                                                                     WITNESS my hand and official seal at the State and County aforesaid, this 30th day of June,

                                                                                                          2022.
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                                                                                                                                                                                                Denise L. Doran
                                                                                                                                                                                                  Signed on 2022/06/30 10:28:28 -8:00


                                                                                                                               Denise L. Doran                                             ____________________________________
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                                                                                                                               Commission # HH 64531
                                                                                                                               Notary Public - State of Florida                            NOTARY PUBLIC, State of Florida 06/30/2022
                                                                                                                               My Commission Expires Nov 27, 2024
                                                                                                                                                                                                               Denise L. Doran
                                                                                                                            Notary Stamp 2022/06/30 10:28:28 PST            3422444336D0

                                                                                                                                                                                           ___________________________________
                                                                                                                              Notarial act performed by audio-visual communicationPRINTED           NAME OF NOTARY PUBLIC

                                                                                                          My Commission Expires:




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